          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 11 of
                                                                        of 88
                                                                                                       United States Bankruptcy Court
                                                                                                            Southern District of Texas

                                                                                                               ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                           September 20, 2021
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                              Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

     In re:                                                   §    Chapter 7
                                                              §
     COUNTRY FRESH HOLDING                                    §    Case No.: 21-30574 (MI)
     COMPANY INC., et. al.,1                                  §
                                                              §    (Jointly Administered)
                       Debtors.                               §


                 ORDER (I) APPROVING THE ASSUMPTION
        AND ASSIGNMENT OF CERTAIN OF THE DEBTORS’ EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF
                     [Related to Docket Nos. 51 and 874]

          Upon consideration of the motion [Docket No. 51] (the “Motion”) of the above-captioned

debtors (the “Debtors”) for the entry of an order pursuant to sections 105(a), 363, and 365 of title

11 of the United States Code (the “Bankruptcy Code”), rules 2002, 6004, 6006, 9007, 9008, and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Bankruptcy

Local Rules for the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Local Rules”), (i) authorizing the sale of the Assets free and clear of liens,

claims, encumbrances, and other interests, except as provided by that certain Asset Purchase

Agreement, dated as of April 29, 2021, by and between the Debtors and Stellex/CF Buyer (US)

LLC (together with its subsidiaries, collectively, the “Buyer”) (as may be amended, supplemented

or otherwise modified from time to time in accordance with its terms, together with all exhibits



1
          The Debtors in these Chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
          number, are: Country Fresh Holding Company Inc. (7822), Country Fresh Midco Corp. (0702), Country
          Fresh Acquisition Corp. (5936), Country Fresh Holdings, LLC (7551), Country Fresh LLC (1258), Country
          Fresh Dallas, LLC (7237), Country Fresh Carolina, LLC (8026), Country Fresh Midwest, LLC (0065),
          Country Fresh Orlando, LLC (7876), Country Fresh Transportation LLC (8244), CF Products, LLC (8404),
          Country Fresh Manufacturing, LLC (7839), Champlain Valley Specialty of New York, Inc. (9030), Country
          Fresh Pennsylvania, LLC (7969), Sun Rich Fresh Foods (NV) Inc. (5526), Sun Rich Fresh Foods (USA) Inc.
          (0429), Sun Rich Fresh Foods (PA) Inc. (4661). The Debtors’ principal place of business is 3200 Research
          Forest Drive, Suite A5, The Woodlands, TX, 77381.




3089914
          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 22 of
                                                                        of 88




and schedules thereto, the “APA”)2; and the Court having entered that certain Order Authorizing

Country Fresh Holdings Company Inc. and its Affiliated Debtors to (I) Sell Substantially All of the

Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (II)

Authorizing and Approving the Debtors’ Performance Under the APA, (III) Authorizing and

Approving the Assumption and Assignment of Certain of the Debtors’ Executory Contracts,

Unexpired Leases, and Permits Related Thereto, and (IV) Granting Related Relief [Docket No.

437] (as may be amended, supplemented, or otherwise modified from time to time, the “Sale

Order”); and Janet Northrup, as chapter 7 trustee (the “Trustee”) of the estates of the Debtors

having filed and served, on behalf of the Debtors, a Notice of Intent to Assume [Docket No. 815]

(the “Assumption Notice”); and the Court having reviewed and considered the Motion and other

evidence submitted in support of the Motion, the objections thereto, and the APA; and the Court

having heard statements and arguments of counsel and the evidence presented with respect to the

relief requested in the Motion; and due notice of the Motion, including the Assumption Notice,

having been provided; and the Court having jurisdiction over this matter; and after due deliberation

thereon,

          THE COURT HEREBY FURTHER FINDS AND DETERMINES THAT:

          1.     The Assumption Notice was good, sufficient, and appropriate under the

circumstances and no further notice need be given in respect of the assumption and assignment to

the Buyer of each executory contract or unexpired lease set forth on Exhibit “1” attached hereto

(collectively, the “Assumed Contracts”).




2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the APA or the Sale
    Order (as defined herein), as applicable.


                                                        2
3089915
          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 33 of
                                                                        of 88




          2.    The Buyer provided adequate assurance of its future performance under the relevant

Assumed Contracts within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the extent

applicable), and 365(f)(2)(B) of the Bankruptcy Code.

          3.    The assumption and assignment to Buyer of the Assumed Contracts shall be July

28, 2021 (the “Assumption Effective Date”).

          4.    All objections to the assumption and assignment of the Assumed Contracts, that

have not been withdrawn, waived, settled, or adjourned, and all reservations of rights included in

such objections or otherwise, are hereby denied and overruled on the merits with prejudice. Each

non-debtor party to any Assumed Contract (“Contract Counterparty”) who did not object, or

withdrew its objections, is deemed to have consented to the assumption and assignment of its

Assumed Contract pursuant to section 365 of the Bankruptcy Code. The findings of fact and

conclusions of law set forth in the Sale Order concerning assumption and assignment shall apply,

be binding upon, be law of the case, and operate to collaterally estop any argument by any Contract

Counterparty.

          5.    The Trustee is hereby authorized and directed in accordance with sections 105(a)

and 365 of the Bankruptcy Code to (a) assume and assign the Assumed Contracts to the Buyer free

and clear of all Encumbrances, Claims, liens, and other interests of any kind or nature whatsoever

(other than the Assumed Liabilities), subject to the terms of the APA, the Sale Order, and this

Order, as of the Assumption Effective Date and (b) execute and deliver to the Buyer such

documents or other instruments as the Buyer deems necessary to assign and transfer the Assumed

Contracts to the Buyer in accordance with the APA.

          6.    The payment of the applicable Cure Amounts set forth on Exhibit “1” attached

hereto by the Buyer as required by the APA and this Order shall (a) effect a cure of all defaults




                                                3
3089915
          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 44 of
                                                                        of 88




existing thereunder as of the Assumption Effective Date, (b) compensate for any actual pecuniary

loss to the applicable Contract Counterparty resulting from such default, and (c) together with the

assignment by the Trustee to and the assumption of the Assumed Contracts by the Buyer, constitute

adequate assurance of future performance thereof.

          7.   Pursuant to section 365(f) of the Bankruptcy Code, the assignment by the Trustee,

on behalf of the Debtors, of the Assumed Contracts shall not be a default thereunder. After the

payment of the relevant Cure Amounts as required by the APA, the Sale Order, and this Order, the

Trustee shall not have any further liabilities to the Contract Counterparties, and the counterparties

shall be estopped from asserting any and all Claims or liens, whether known or unknown, against

the Debtors on account of the Assumed Contracts.

          8.   Any provisions in any Assumed Contract that prohibit or condition the assignment

of such Assumed Contract to the Buyer or allows a Contract Counterparty to terminate, recapture,

impose any penalty, condition on renewal or extension, or modify any term or condition upon the

assignment of such Assumed Contract to the Buyer, constitute anti-assignment provisions that are

unenforceable and will have no force and effect solely with respect to assumption and assignment

of the Assumed Contracts pursuant to this Order. All other requirements and conditions under

sections 363 and 365 of the Bankruptcy Code for the assumption by the Trustee and assignment

to the Buyer of the Assumed Contracts have been satisfied.

          9.   Upon the Assumption Effective Date of any Assumed Contract, in accordance with

section 365 of the Bankruptcy Code, the Buyer shall be fully and irrevocably vested with all right,

title and interest of the Debtors under such Assumed Contract. To the extent provided in the APA,

the Trustee shall cooperate with and take all actions reasonably requested by the Buyer to

effectuate the foregoing.




                                                 4
3089915
          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 55 of
                                                                        of 88




          10.   Upon the Assumption Effective Date and the payment of the relevant Cure Amount,

if any, the Buyer shall be deemed to be substituted for the Debtors as a party to the applicable

Assumed Contract and the Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy

Code, from any further liability under such Assumed Contract.

          11.   Upon the Assumption Effective Date and the payment of the relevant Cure Amount,

if any, the Assumed Contracts will remain in full force and effect (subject to any amendments

agreed to between the Contract Counterparty and the Buyer), and no default shall exist under the

Assumed Contracts and no Contract Counterparty shall be permitted (a) to declare a default by the

Buyer under such Assumed Contract, or (b) to otherwise take action against the Buyer as a result

of any Debtor’s financial condition, bankruptcy, or failure to perform any of its obligations under

the relevant Assumed Contract. Each Contract Counterparty hereby is also forever barred,

estopped, and permanently enjoined from (a) asserting against the Trustee, the Debtors, or the

Buyer, or the property of any of them, any default or Claim arising out of any indemnity obligation

or warranties for acts or occurrences arising prior to or existing as of the Assumption Effective

Date, or, against the Buyer, any counterclaim, defense, setoff, or any other Claim asserted or

assertable against the Debtors, expect as otherwise provided in this Order, and (b) imposing or

charging against the Buyer or its affiliates any rent accelerations, assignment fees, increases

(including advertising rates), or any other fees as a result of the Debtors’ assumption and

assignments to the Buyer of the Assumed Contracts.

          12.   Nothing in this Order or the APA shall affect or modify the Trustee’s obligations

pursuant to section 365(d)(3) of the Bankruptcy Code.

          13.   For the avoidance of doubt and notwithstanding anything to the contrary contained

herein or in the APA, the Buyer shall be liable for all obligations and liabilities under the Assumed




                                                 5
3089915
          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 66 of
                                                                        of 88




Contracts that are leases of non-residential real property, as may be modified by agreement of the

Buyer and the Contract Counterparty, to the extent such obligations or liabilities arise or are (as

required by the applicable lease) billed after the Assumption Effective Date, as applicable,

including, but not limited to any and all liabilities or obligations arising under the leases with

respect to any accruing and not yet due adjustments or reconciliations (including, without

limitation, for royalties, percentage rent, utilities, taxes, common area or other maintenance

charges, promotional funds, insurance, fees, or other charges) when billed in the ordinary course,

regardless of whether such obligations or liabilities are attributable to the period prior to the

Assumption Effective Date, as applicable, unless otherwise agreed to in writing by the Buyer and

the Contract Counterparty, in each case subject to the terms and conditions of the lease, as may be

modified by agreement of the Buyer and the Contract Counterparty.

          14.   Pursuant to sections 105(a) and 365 of the Bankruptcy Code, other than the right to

payment of any Cure Amount, all Contract Counterparties are forever barred and permanently

enjoined from raising or asserting against either the Trustee, the Debtors, or the Buyer any

assignment fee, default, breach, Claim, pecuniary loss, or condition to assignment arising under or

related to the Assumed Contracts existing as of the Assumption Effective Date.

          15.   Notwithstanding that as of the Assumption Effective Date, as provided for by this

Order and the APA, the Trustee and the Debtors shall be relieved, pursuant to section 365(k) of

the Bankruptcy Code, from any further liability under the Assigned Contracts, any Contract

Counterparty may seek to recover from the Debtors’ indemnification obligations, if any, arising

from third-party claims asserted with respect to or arising from the Debtors’ use and occupancy of

Leased Real Property prior to the Assumption Effective Date for which the Trustee or the Debtors




                                                 6
3089915
          Case
          Case 21-30574
               21-30574 Document
                        Document 918
                                 980 Filed
                                     Filed on 09/03/21
                                           in TXSB     in TXSB Page
                                                    on 09/20/21 Page 77 of
                                                                        of 88




have a duty to indemnify such Lease counterparty pursuant to any Lease, solely with respect to

available insurance coverage.

          16.   All Contract Counterparties shall cooperate and expeditiously execute and deliver,

upon the reasonable request of the Buyer, any instruments, applications, consents, or other

documents that may be required or requested by any public authority or other party or entity to

effectuate the applicable transfers in connection with the sale of the Acquired Assets.

          17.   The terms of the Sale Order are incorporated herein and made part of this Order

and each of the Assumed Contracts set forth herein and on Exhibit “1” attached hereto is an

Assumed Contract as set forth in the Sale Order. Except as expressly modified by this Order, the

Sale Order shall remain unchanged and in full force and effect. All factual and other findings and

conclusions of law contained in the Sale Order shall remain fully applicable. Nothing in this Order

shall impact the finality of the Sale Order.

          18.   Notwithstanding the provisions of Bankruptcy Rule 6004(h) and Bankruptcy Rule

6006(d), and pursuant to Bankruptcy Rules 7062(g) and 9014, this Order shall not be stayed and

shall be effective immediately upon entry.

          19.   This Court shall retain jurisdiction to, among other things, interpret, implement,

and enforce the terms and provisions of this Order, the Sale Order, and the APA, all amendments

thereto as well as any waivers and consents thereunder and each of the agreements executed in

connection therewith to which the Debtors are a party and adjudicate, if necessary, any and all

disputes concerning or relating in any way to the Sale.

DATED: ___________________, 2021.
 Signed: September
         October 17,20, 2021
                     2018
                                                     ____________________________
                                                     THE HONORABLE MARVIN ISGUR,
                                                      ____________________________________
                                                     UNITED STATES     BANKRUPTCY
                                                                    Marvin  Isgur      JUDGE
                                                          United States Bankruptcy Judge



                                                 7
3089915
                               Case 21-30574 Document 980 Filed in TXSB on 09/20/21 Page 8 of 8



                                                                       Exhibit 1

                                                                   Assumed Contracts

                                                           CONTRACT                                    CONTRACT    ASSUME AS    CURE
          COUNTERPARTY                DEBTOR ENTITY                              DESCRIPTION
                                                              TYPE                                         DATE    AMENDED     AMOUNT
 BREIT INDUSTRIAL HS PROPERTY       COUNTRY FRESH          LEASE        BREIT INDUSTRIAL LEASE         6/1/2017                 $0.00
                                    ORLANDO, LLC                        TOGETHER WITH ALL
                                                                        AMENDMENTS
 COLFIN 2015-2 INDUSTRIAL OWNER     COUNTRY FRESH          LEASE        COLFIN - GRAND PRAIRIE LEASE   3/1/2020                 $0.00
 LLC                                HOLDING COMPANY,                    TOGETHER WITH ALL
                                    INC.                                AMENDMENTS
 CORONA INDUSTRIAL LLC              SUN RICH FRESH FOODS   LEASE        CORONA INDUSTRIAL LEASE        12/1/2020                $0.00
                                    (USA), INC.                         TOGETHER WITH ALL
                                                                        AMENNDMENTS
 HYG FINANCIAL SERVICES, INC        COUNTRY FRESH LLC      EQUIPMENT    MASTER LEASE AGREEMENT #       4/5/2019                 $0.00
                                                           LEASE        9411387
 MARLIN CAPITAL SOLUTIONS           COUNTRY FRESH LLC      EQUIPMENT    EQUIPMENT FINANCE              5/30/2019                $0.00
                                                           LEASE        AGREEMENT # 1358640, 1357173
 PINNACLE CENTER 1, LLC             COUNTRY FRESH          LEASE        PINNACLE CENTER 1 LEASE        9/19/2019                $0.00
                                    HOLDINGS, LLC                       AGREEMENT TOGETHER WITH
                                                                        ALL AMENDMENTS
 RAYMOND LEASING CORPORATION        COUNTRY FRESH          EQUIPMENT    WAREHOUSE EQUIPMENT LEASE      UNKNOWN                  $0.00
                                    PENNSYLVANIA, LLC      LEASE        AGREEMENT
 RAYMOND LEASING CORPORATION:       COUNTRY FRESH LLC      EQUIPMENT    COMPREHENSIVE FIXED PRICE      9/25/2019                $0.00
 ARBOR MATERIAL HANDLING, INC.                             LEASE        MAINTENANCE AGREEMENT
 (PART OF RAYMOND LEASING
 CORPORATION)
 RAYMOND LEASING CORPORATION:       COUNTRY FRESH          EQUIPMENT    AGREEMENT #353241(ADDITIONAL   1/6/2020                 $0.00
 ARBOR MATERIAL HANDLING, INC.      PENNSYLVANIA, LLC      LEASE        SCHEDULE UNDER RAYMOND L
 (PART OF RAYMOND LEASING
 CORPORATION)
 RAYMOND LEASING CORPORATION:       COUNTRY FRESH          EQUIPMENT    AGREEMENT #353242              1/6/2020                 $0.00
 ARBOR MATERIAL HANDLING, INC.      PENNSYLVANIA, LLC      LEASE        (ADDITIONAL SCHEDULE UNDER
 (PART OF RAYMOND LEASING                                               RAYMOND
 CORPORATION)
 RAYMOND LEASING CORPORATION:       COUNTRY FRESH          EQUIPMENT    AGREEMENT #353243              1/6/2020                 $0.00
 ARBOR MATERIAL HANDLING, INC.      PENNSYLVANIA, LLC      LEASE        (ADDITIONAL SCHEDULE UNDER
 (PART OF RAYMOND LEASING                                               RAYMOND
 CORPORATION)




                                                                       8
3089915
